 

Case 4:04-cv-02688-JEJ Document 231-14 Filed 09/29/05 Page 1 of 3

APPENDIX IV
° TAB W
 

Case 4:04-cv-02688-JEJ Document 231-14 Filed 09/29/05 Page 2 of 3

For [MMEPIATE RELEASE Dec. 14, 7
Pres$ Contact: Rob Crowther
Biiscovery Institute

(306) 2574401 1.107

rokxa@jdiseovery.org
Leading intelligent design think tank caiis Dover
evolution policy "misguided," calls for it to be withdrawn

SEATTLE, DEC. 14— The policy on teaching evolution recently adopted by the Dover, PA
School Board was called "misguided" today by Diseovery Institute's Center for Science
and Culture, which advised that the policy should be withdrmwn and rewritten.

"While the Dover board is ta be commended for trying to teach Darwinian theory in 2
more open-minded manner, this is the wrong way to go about it," said Dr. John G. West,
associate ditector of Discovery Institute's Cemer for Science and Culture (CSC).
"Dover's current policy has a number of problems, not the least of which 1s ibs lack of
clarity. At one point, if appeats to prohibit Dover schools from tcaching anything about
‘the origins of life.’ At another point, rt appears to both mandate as weil as prohibit the_
teaching of the sclenti fig. theory of intelligent design. The policy's incoherence rains
"serious problems from the standpoint of constitutional law. Thus, the policy should be

withdrawn and rewrilten.”

Apart from questions about tts constitutivnality, West expressed reservations about the

Dever School Board's directive on public pobey prounds.

“Whion we first read about the Dever policy, we publicly criticized it because according
to published repurts the intent was 10 mandate the teaching of intelligent design,”
explained West. “Although we think discussion of intelligent design should not be

prohibited, we don't think inlellivent design should be required in public schools.
“What should be required ts full disclosure af the scientific evidence for and against

Darwin's theory,” added West, “which ts the approach supported by the overvhelming

Tajority of the public.”

v@i1i3
 

 

Case 4:04-cv-02688-JEJ Document 231-14 Filed 09/29/05 Page 3 of 3

eo.
e Discovery Institute's Center for Science & Culture is the nation's leading think-tank
exploring the scientific theory of intelligent design, which proposes that some features of
the natural world are best explamed as the product of an intelligent cause rather than an
undirected cause such as natural selection. In recent years a-growing number of scientists
e have presented the case for intelligent design theory in acadeniic joumal articles and
books published by major academic presses such as Cambridge University Press and
Michizan State University Press. For more information visit the Institute's website at
wew tiscoveryorgcsey!,
* .
Heel
®
6
°
e
e
q
JO1144
¢
